                         Case 1:22-cv-03367-RC Document  3 Filed 11/02/22 Page 1 of 2
                                               &/(5.=62)),&(                                                        &2
                                               81,7('67$7(6',675,&7&2857                                         5HY
                                               )257+(',675,&72)&2/80%,$

                              127,&(2)'(6,*1$7,212)5(/$7('&,9,/&$6(63(1',1*
                                   ,17+,625$1<27+(581,7('67$7(6&2857

                                                                                                   &LYLO$FWLRQ1R 1:22-cv-3367
                                                                                                   7REHVXSSOLHGE\WKH&OHUN

127,&(723$57,(6

          3XUVXDQWWR5XOH E  \RXDUHUHTXLUHGWRSUHSDUHDQGVXEPLWWKLVIRUPDWWKHWLPHRIILOLQJDQ\FLYLODFWLRQZKLFKLV
UHODWHGWRDQ\SHQGLQJFDVHVRUZKLFKLQYROYHVWKHVDPHSDUWLHVDQGUHODWHVWRWKHVDPHVXEMHFWPDWWHURIDQ\GLVPLVVHGUHODWHGFDVHV
7KLVIRUPPXVWEHSUHSDUHGLQVXIILFLHQWTXDQWLW\WRSURYLGHRQHFRS\IRUWKH&OHUN=VUHFRUGVRQHFRS\IRU WKH -XGJH WR ZKRP WKH
FDVHVLVDVVLJQHGDQGRQHFRS\IRUHDFKGHIHQGDQWVRWKDW\RXPXVWSUHSDUHFRSLHVIRUDRQHGHIHQGDQWFDVHFRSLHVIRUD WZR
GHIHQGDQWFDVHHWF

127,&(72'()(1'$17

        5XOH E  RIWKLV&RXUWUHTXLUHVWKDW\RXVHUYHXSRQWKHSODLQWLIIDQGILOHZLWK\RXUILUVWUHVSRQVLYHSOHDGLQJRUPRWLRQ
DQ\REMHFWLRQ\RXKDYHWRWKHUHODWHGFDVHGHVLJQDWLRQ

127,&(72$//&2816(/

          5XOH E  RIWKLV&RXUWUHTXLUHVWKDWDVVRRQDVDQDWWRUQH\IRUDSDUW\EHFRPHVDZDUHRIWKHH[LVWHQFHRIDUHODWHGFDVH
RUFDVHVVXFKDWWRUQH\VKDOOLPPHGLDWHO\QRWLI\LQZULWLQJWKH-XGJHVRQZKRVHFDOHQGDUVWKHFDVHVDSSHDUDQGVKDOOVHUYHVXFKQRWLFH
RQFRXQVHOIRUDOORWKHUSDUWLHV
                                                            BBBBBBBBBBBBBBB

7KHSODLQWLIIGHIHQGDQWRUFRXQVHOPXVWFRPSOHWHWKHIROORZLQJ

,       5(/$7,216+,32)1(:&$6(723(1',1*5(/$7('&$6( 6 

         $QHZFDVHLVGHHPHGUHODWHGWRDFDVHSHQGLQJLQWKLVRUDQRWKHU86&RXUWLIWKHQHZFDVH>&KHFNDSSURSULDWHER[ H=V
         EHORZ@

                         D    UHODWHVWRFRPPRQSURSHUW\

                ✘        E    LQYROYHVFRPPRQLVVXHVRIIDFW

                         F    JURZVRXWRIWKHVDPHHYHQWRUWUDQVDFWLRQ

                         G    LQYROYHVWKHYDOLGLW\RULQIULQJHPHQWRIWKHVDPHSDWHQW

                         H    LVILOHGE\WKHVDPHSURVHOLWLJDQW

       5(/$7,216+,32)1(:&$6(72',60,66('5(/$7('&$6( (6

         $QHZFDVHLVGHHPHGUHODWHGWRDFDVHGLVPLVVHGZLWKRUZLWKRXWSUHMXGLFHLQWKLVRUDQ\RWKHU86&RXUWLIWKHQHZFDVH
         LQYROYHVWKHVDPHSDUWLHVDQGVDPHVXEMHFWPDWWHU

         &KHFNER[LIQHZFDVHLVUHODWHGWRDGLVPLVVHGFDVH

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         &2857 
          see attached

       &$37,21$1'&$6(180%(52)5(/$7('&$6( (=6 ,)025(5220,61(('3/($6(86(27+(56,'(
                                                                  Becerra
          Bd. of Trs. of the Univ. of Ala.                 Y                                                &$1R 22-0504

          11/02/2022                                                 V&KULVWRSKHU3.HQQ\
         '$7(                                6LJQDWXUHRI3ODLQWLII'HIHQGDQW RUFRXQVHO
           Case 1:22-cv-03367-RC Document 3 Filed 11/02/22 Page 2 of 2




                    Notice of Designation of Related Civil Cases Pending
                  IN THIS OR ANY OTHER UNITED STATES COURT
                                        —Continued—
In addition to the Bd. of Trs. of the Univ. of Ala. v. Becerra case, Advocate Bromenn Reg'l Med.
Ctr., et al., v Azar, No. 1:19-cv-03751, Vanderbilt Univ. Med. Ctr. v Azar, No, 1:20-cv-01582,
Vanderbilt Univ. Med. Ctr. v Becerra, No, 1:21-cv-3246, Univ. of Kan. Hosp. Auth. v. Azar, No,
1:20-cv-00778, Bd. of Trs. of the Univ. of Ala. v. Azar, No. 1:20-cv-0674, Univ. of Kan. Hosp.
Auth. v. Becerra, No. 1:22-cv-03055 are related and pending before this Court.
This complaint also relates to a consolidated case Am. Hosp. Ass’n v. Becerra, 142 S. Ct. 1896
(2022) (remanding to D.C. Circuit for further proceedings consistent with its opinion); Am.
Hosp. Ass'n v. Becerra, No. 19-5048, 2022 WL 3061709, at *1 (D.C. Cir. Aug. 3, 2022)
(remanding to the district court for further proceedings consistent with the Supreme Court's
opinion); Am. Hosp. Ass’n v. Becerra, No. 18-2084 (RC), 2022 WL 4534617, at *5 (D.D.C.
Sept. 28, 2022) (prospectively vacating the drug reimbursement rate of ASP minus 22.5 percent
for 340B hospitals in the CY 2022 Final Rule).
